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                                     THIS DEED made this 10th day of Decem- r 1984 , by apd
                              betweep JOBN H. KLUGE and PZTPICIA M. KLUGE , busband and wlfez
                              parties of the ftrst part, and JWK PROPEPTIES, INC., party of the
                              second part, whose address is c/o K1u9e Enterprlses, 10925
                              Governor Sarfleld Parkway. Columbîa              Maryland, 21044

                                                       : 1 T N E S S K 7* H
                                     WHEREAS. John @. Kluge is the owner of the he retnaftet'
                              descrlbed real estate $ located partty tn Albemarle County ,
                              VkrginTa , and partly tn Fluvanna County . Vtrglnia'
                                                                                 , and
                                     WBEPEAS, John @. Kluqe has orqantzed a sub-ch apter
                              eorporatton under the laws of the State of > laware. known as
                              ''J@K propertïes, 1nc.'': and
                                     NHEREAS John       Kluge deszres to transfer and convey tbe
                              hereinaf ter described real estate to said sub-chapte r S
                              eorpçratfon.
                                     NO#, THEREFOPE, the partles of the first part doth Lereby
                              TR#NSPL'R . GRANT and CONVEY with GENERAL AARRANTY and EMGLISH
                              CO%ENANT S of TlT LE unto J>K Properties, 1nc .r those certa.tn
                              tracts or parcels of land described as fûllows:
                                                that certaln tract or parcel of land                  sltuated in
                              Alb                                                                                      k
                                 emarle County , Vlrginîa, contalning 61.9505 acre/ . designated
                                                                                                                       J
                              as parce 1 35-8 on àlbemarte County Tax 8ap                        being more            ;
                                                                                                                       i
                                                                                                                       l
                              particul arly described on plat of B. Aubrey Huffman & Assocïates,                       i
                                                                                                                       1
                              Ltd.. dated February 21, 1982, hereto attached and made a part of                        ;
                                                                                                                       i
                              this deed and beàng the same property tn a1) respects conveyed                           f
                                        #                                                                              j
                              to John #. Kluge by Jane-Howard Halnmerstein and husband by deed                         f
                              dated Pe bruary    1982 recorded    the Clerk's 0ff ice of the
                              Clrcuit Court of Albemarle County Virginla,    > ed Book 734 ?                           p
                                                                                                                       1
                                                               ,

                              page 644 ln which deed the acreage                    erroneously stated as
                              64.6628 acres ;
                                     (21 A11 that certaln tract or parcel of land                      the
         uAW Of#'I4;t@        Samuel Mzller Maq'eisterial Dlstrïct of Albemarle Coun tv
                                                                                      œ f V lrginfa e
     WOOD.Wooo&Wooo                                                EXHIBIT                                             .
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                              containïni 22.7529 acresy lylng Y tween State Route 627 and State
                              Route 727 t desïgnaçed as parcel tO-A on Albemarle County Tax 8ap
                              107# belng more partzcularly descrtbed on plat of B. Aubrey
                              Hut fman s Associa tes. ttd      dated February 24, 1982, hereto
                              attached and made a part bereof, and being the same property tn
                              a11 respects conveyed to John %. Kluge by Hary Regina > Jeune
                              Mackall and husbacd by deed dated Narch 1, 1992, recorded tn sazd
                              Clerk 's office in > ed Dook 734 page 616. in whlch deed the
                              acreage was erroneousty stated as 20.B acres;
                                      (3) Al1 that certaàn tract or parcel of landê toqether
                              with a11 lmprovements thereon and appurtenances thereto
                              pertaintnq , descrzbed as Parcel A, contalning 4.151 acres .
                              designated as parcel 35 on Albemarle County Tax Map 102# shown on
                              plat of Silliam S. Roudabush , Inc. dated January 9, 1976 I of
                              reterd in sald Clerkls Offkce ln Deed Book 702 f' page 27! belng
                              the same property ïn a11 respects conveyed Lo John H. xluge by                                   '
                              Ronald K. Bantste r and wlfe by ceed dated February 12 ' 1982 #
                              recorded in sakd Clerk 's Office ln > ed Dook 735, page 1617
                                     (4) A1) those flve (5) certatn tracts or parcels of land
                              described as follzws:
                                            (A) A)1 that certain tract or parcel o? lalpd,
                              situated ïn the Scottsville Yagiaterial Dtstrict of Albemarle
                              County, Vzrginia # containing in the aggregate 477.557 acres # more
                              or less beinq the tand shown as (81.708 acres on plat of record
                              in sald Clerk's Office in > ed 3ook 175, page 21 and Deed Book
                              349# page 63, less a tract of 4-L51 acres , more or less, shown as
                              Parce l # on a plat œf Willfam S. Roudabush # Inc ., dated January
                              9, 1976, ot record in said Clerk's Offj :e in Deed Book 702, page
                              27 and designated as parcels 35-A and 1-B on Albemarle County Tax
                              Map 102:
                                     (B) A tract of 0.272 acres near, but not adjozning, the
                              land described tn (A) abope, with the rights of way appurtenant
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                              thereto as set forth tn a deed recorded in Deed Book 307, page
                              242 w:th plat attacbed, and further descrlbed on plat of B
                              Aubrey Huffman & Assoclates, Ltd. dated Marcb 9 . 1982, attached
                              to and recorded with a deed from Short Hzlls, Incorporated, to
                              John *. Kluge, dated Mar/h ), 1982, recorded io                     said Clerk's
                              offtce in Deed Book 735, page 163 and daslgnated as parcel 36-A
                              on Albemarle County Tax Map 102:
                                     (C) A11 that certain tract or parcel of land containing
                              326,23 acres, more or less , situated ln the Scottsville
                              Hagisterial Distrzct of Albemarle County, VtrgtnAa, more
                              particularly describcd on plat of :zlliam S , goudabush, Jr.,
                              dated June 23, 1961l of record zn said Clerk'a Offïce in * ed
                              Book 398, page 555# and shown thereon as Parcel X# destgnated
                              as parcel 1-E on Albemarle Cou nty Tax Hap t03;
                                     (D1 & parcel containing 43.566 acres of land wlth 53.94
                              feet of frontage on Route 20 all as shown on a plat dated May
                              10, 1973. prepared by B. Aubrey Huffman s Assocïates, recorded in
                              said Clerk 's Offlce ln > ed Book 532t page 525 e deslgnated as
                              as parcel 33 on Albemarle County Tax Yap 102'
                                     (E) à11 that certain tract or parcel of land, containing
                              144.27 acres, more or less. situated about eight (8) mlles in a
                              southerly dlrection from Charlottesville, near State Route 627ê
                              tn the Scottsvllle Magïsterïal Dlstrlct of Albemarle County ,
                              Virqinïa , more partîcularly described by metes and bounds on a
                              plat prepared by Hllltam S. Roudabush? Jr., and Assockates, of
                              record in sazd Clerkls ûffice in Deed Book 429 t page 4)3# and
                              designated as parcel l on Albemarle County Tax Map 103)
                                     The parcels descrzbed in (4), (A1, (B) (C), (DL and (D)
                              above are the same in a11 respects conveyed to John W. Kluge by
                              Short Hïlls , Incorporated, b: deed dated Harch 3, 1982 and
                              recorded in saîd Clerk's Offlce in * ed Book 735: page 162, to
          LAw olrFkçtp
      w oos.Wx o*W QOD        wbich deed is attached plat of Harch 94 2982, showlng 0.272 acres
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    cytlRkorer@vluk.t.vA.                                         3

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                                  referred to zn f4-A) and tbe plat dated %arcN 1. 1982, sNowlnq
                                  9?5.1306 acres, both prepared by 3. Aubrey Butlman & Associates,                                '

                                  btd ., showlng the composite boundary or                 the prcpe rty conveyed
                                  there by .
                                               A1) tbose two certain trac ts or parcels of land
                                  situated ln the Scottsvllle Hagisteriak Dzstrlct of Albemarle
                                  County , Virgtnla, described as)           a tract of 7.18 acres #
                                  deslgnated as parcel 1-D on Albemarle County Tax Nap 103 and
                                  Q ) a tract of 10.92 acres adiolninq the property descrlbed tn
                                  (l) above. designated as parcel 1-H on rlbemarïe County Tax Map
                                  103 both of which parceLs are more partLcularly descrlbed on                                    :
                                     '                                                                                            j
                                  platofHklliamS.Roudabush,JnQ datedMay11,1982.hereto
                                  attached and made a part of this deed , and bezng the same
                                                                                                                                  t
                                                                                                                                  l
                                  property in a11 respects conveyed to John                     Kluge by Jobn
                                  Doug1as C:ark and wi.fe by deed, dated Aprj1    1982 . 2,nd
                                  recorded in saïd Clerkfs Office tn Deed zook 711 page 507                                       i
                                                                                                      '         .                 1
                                                                                                                                  I
                                          (6) A11 that certaln 1ot or parcel of land, with the
                                  lmprovements thereon and appurtenances thereunto betonqing ,
                                  containing 3.01 acres l more or less / sltuated near State Route
                                  62 7 # ln the :cottsvllle Magzsterjal Dlstrzct Qf Albemacle Caunty,
                                  Vtrgtniat deslgnated as parcel 1-F on Albemarie County Tax
                                  8ap l07r more particularly descrkbed as Parcel ''Z', on a plat
                                  prepared by Nilliam S. Roudabush, Jr., C.L.S., dated June 23,
                                  1964# oL' record         said Clerk's öfflce ln * ed Book 398 # page
                                  555 and being the same property in a11 respects conveyed to John
                                  *. Kluqe by Neal W. Hzlkerson and wlfe by deed, dated June 28,
                                  1982, and recorded tn saïd Clerk's Office in > ed Book 741, page
                                  51 0.
                                               &l1 that certaln 1ot or parcel of land / sttuated on
                                  State Route 20 ïn hlbemarle County, Virginia, design ated as
                                  parcet 33-C on Albemarle County Tax Hap 1O7r being designated as
              uAw orrtcz%         Lo t 3 and a ().055 acre strip OD plat          Wm . Morris Foster . dated
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          azûCQUR' *QUARK
         CHAqLC)STt*VIt-Le..vA.                                          4


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                                  May     1975 ,up-dated August 6, 1962, attached to and recorded
                                 with a deed from Meredlth              Clarke             arld wlfe to John :.
                                  Kluqe , d ated àugust 30# 1922. recorded ln sald flepk's Offtce in
                                  Deed Book 14 7 page 91, belnq the same property in                             respects
                                 conveyed to Jobn @. Kluge by said last mentzoned deed.
                                         (8)         those cer tatn lots ot parcels                         land wtth the
                                  improvements thereon and the appurtenances thereunto belongtng ,
                                 situated ln Albemarle Countv, Vlrginia, shown and descrzbed as
                                  Lot 11 (1.:6 Acresh, Lot $2 ().89 acres) and Lot 13 (3.56 acres),
                                 Block A, Harshalt Hanors            a plat thereof                 record        saïd
                                 Clark's Offtce în Deed Book 573, page 242, designated as parcels
                                 l1, 17 and 1) on Albemarle County Tax Hap 90-B respectively ,
                                 and being the same proper ty c onveyed to John W . K1uge by F'orrest
                                 R. Marshall#             and wlfe by deed dated November 72 # 1982 #
                                 recorded in said Clerk 's Off ice ln > ed Book 7b2 $ page 250.
                                         (9)        that certain             or parcel cf land 4 w1th
                                 ïmprovements thereon and appurtepances thereto belongkng ,
                                 situated in Albemarle County , Virginia 4 on the south slde of
                                 Route         near Carter's Brldge t containing 183.13 acres ? more or
                                 less, descrtbed by a plat made by 9.                  Snow & R. %. Ray,
                                 P.C., dated April 30, 1981 of record                    sazd Clerk's Qffzce in
                                 Deed Book 716l page 203, deskgnated as parcel 40 on Albemarle
                                 County Tax Map 102# beinq the same property ln                              respects
                                 conveyed to John H. Kluge by lnne %. Blades and husband by deed,
                                 dated February 3/ 1983 recorded in sazd Clerk's Offlce ln Deed
                                 8ook 757: page 319.
                                         (10) ô1l that certazn tract or parcel of lond, *1th the
                                 improvements thereon and the appurtenances thereunto pertainingl
                                 situated tn hlbemarle County , Virgtnta, containing 2.000 acres,
                                 fronttnq on State Route 622 * shown and described on a plat dated
                                 October 2?, 19824 revised November 16, 1982 , by Robert                            Zum ,
                                 C.L.s., entitled in part ''Tlae Kllllam llidd Property'' of record in
           t.Aw olhFlce:
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                             sald Clerk's Offlce ln Deed Book 755, page 281, designated as
                             parcel 17 on A1bemarle County Tax Map 1?4l and being the same
                             property in a11 respects conveyed to John H. Yluge by Hîlliam Ray
                             Kldd and wife by deed, dated June 8, 1983, and recorded ln satd
                             Clerk's Offzce zn Deed Book 767 t page 445.
                                    (11) A1l that certain tcact or parcel of laod, whth the
                             ïmprovements thereon and the appurtenances thereunto belongtng ,
                             sltuated fn the Scottsville Hagtsterlal Dlstrtct of Albemarle
                             County, Vlrglnla, near Carter's Bridge fronting on State Rcute
                             627 and, to a small extent, State Route 727 contaioing 78.1251
                             acres, beïng more partlcularly shown and descrtbed o n plat cf B.
                             Aubrey Huffman & Associates Ltd ., C.L.S., dated February 8
                             1924
                              .   $ attacheu to and recorded wtth a deed from Farrest R.

                             Marshallf Jr ., and wtfe to John %. Kluqe dated Pebru ary 1û, 1984 ê
                             and recorded tn sald Clerk's Office tn Deed book 789 / page 185/
                             designated as parcel    on Albemarle Ccunty Tax yap L02, belng
                             the same property in all respects conveyed to John W . Kluqe by
                             satd last mentloned deed .
                                    (12) A11 that certain tract or parccl of land, wlth a11
                             imprcvements thereon and appurtenances thereto, sltuated tn
                             Albemarle County, Virginta# containlng 371.05 acres / deslgnated
                             as parcel 6 on Albemarle County 'rax Map 122 and shown on plat of
                             William S. Roudabush Jr., C.L.S., dated Pebruary 3. 1984
                             attached to and recorded with a deed from Halton D. Morris
                             unmarried, et a1, to John H. Kluge, dated Pebruary 14, 1884, and
                             recorded in said Clerk's Office ln > ed Book 790: page 401, and
                             betng tbe same property in a1l respects conveyed to John @. Kluge
                             by satd last mentîoned deed .
                                    (13) Tbose three (3) adjotnîng tracts or parcels of land
                             ïn the Scottsvilte yagzsterzal Distrzc t of Albemarle County,
                             Virgfnia. aqgregatlng 1,382.83 acres, destgnated as parcets 2, 3
        kAw owwsc4:s         and 19 tln Albe mar:e Count? Tax Map 134 , and parce l 1 Tax Map 135
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                                 and more particularly descrlbed as a11 those Tertaln tracts or
                                 parcels of land known as ''Lone Oak'' and ''Hlllsap '' contairlinq ln
                                 the aqqregate 14382.83 and belng more partzcularly descrlbed on
                                 sheets 1, 2 # and 3 on plats of P. 0. Snow and R. W . Ray , 1nc
                                 dated May 21 1984 hereto attached and made a part of lhis deed
                                 and zs the same property Tn a11 respects çonveyed to John %.
                                 xluge by Nettke yarle Jones, unmarrzed , et a), by decd , dated Hay
                                 4, 1984 and recorded      sald Clerk fs Offlce                        Deed Book 801
                                 paqe 73, in which decd the above descrxbed property was
                                 erroneously estimated to contaln 1 439 acres.
                                         ()11 A1i rïght, tTtle and lnterest zn and to a11 that
                                 certain tract or parcel of land t sttuated on State Rou tes 627 and
                                 72? in the Scottsville Nagisterial District of Albemarle County.
                                 Vzrgtnia desïgnated as parcel l0-A on Albemarle County Tax Map
                                 103, contalning 0.630 acres, more or less. as shown on plat of
                                 Gloeckner t Lzncoln ; and Osborne 4 lnc. dated November 6 I 1981 ;
                                 attached to and recorded wlth a deed fr om Hlllie B. Townsend to
                                 John : . Kluge dated November 6, 1984, and recorded in said
                                 Clerk's Offlce zn Deed Book 819, page 316, belng the same rlght,
                                 tltle. and lnteres t conveyed to John H . Kluge by said las t
                                 mentioned deed .
                                        115) A11 tbat certain tract or parcel of land                         wîth the
                                 lmprovements thereon and the appurtenances thereto situated
    r
    l                            partly tn Albemarle County, Ulrgtnia , and partly In i-zuvanna
                                 County, Virginial deszgnated as parcels 14' 14A and 16 on
                                 Albemarle Count? Tax Map 121t containing 101.98 acres # shown and
                                 descrtbed on a plat dated January 17, 1983, by Hllliam S .
                                 Roudabush # Inc., C .L.S. attached to and recorded wltb o deed
                                 from Jessie P. Ktdd ' wldow # to John K. Kluge, dated January 18 '
                                 1983 # recorded in the Clerk's Office of the Circuit Court of
                                 AlbemarLe Couoty, Virgïnta, zn > ed Book )5%f page 544, and in
            k./@ QFFlC.t:
        WooD.WX D&W GTO the Clerk's Office of the Clrcuit Court of tlae Circuit Court of
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        c>9ARt.gTre:vlt.kt,M&.                                     1


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                          Fluvanna County, Vlrginia.          > ed Book 149, paqe i38, and be tng
                          the same property        a11 respccts conveyed to JoMn W. Irluge by
                          sakd last mentioned deed ,
                                  (16) A11 that certatn tract or parcei of land with
                          improvements thereon and appurtenances thereunto pertatnlng,
                          sltuated partly ïn Albemarte County, Vkrginia t and partly in
                          Fluvanna County , Vtrg iniaz designated as parcel                Albemarle
                          county Tax 8ap 124 contalnlng 116.30 acres more                   less
                          fronting on State Route 622 shown and descrlbed on a plat by
                          Wzllxam S. Roudabush, Inc       C.L.S., dated Decembe r 101 1992,
                          which plat     attached to and recorded wlth a deed from Hllliam
                          Ray Kzdd and wlfe to John W . Kluge dated November                1982
                          recorded tn the Clerk 's Offïce of the Circult Cou rt of Albemarle
                          County, Vtrglnla, ln > ed Book 7b5 page 279 and                  the Clerk's
                          Office of the Circuit Court of Pluvanna County, Virginta,                    lk ed
                          Book )49, page 92, betng the same property in a11 respects
                          conveyed to John b'. Kluge by sald last Qentioned deed.
                                 Tbis conveyance        exempt from State recordatlon tax under
                          Vtrqinia Code Sectlon 58-64, sub-paragraph (6) thts conveyanûe
                          being to a corporatlon upon          organkzatlon by John H. Kluge who
                             in contro1 of the corporation             a transactton Uhich quatifies
                          for nonrecognitlon of gatn or loss pursuant to Sectton 351 of the
                          lnternal Revenue Ccde of 1954 l as           extsts at the time           the
                          conveyance.
                                 Safd parcels are conveyed subject to such easements.
                          conditions f restrictions 4. and reservattons contained in duly
                          recorded deeds# plats, and other instruments cons tktuting
                          constructive notice        tbe chain         title to the property hereby
                          conveyed which have not expired by a limitatlon of time contained
                          tberein or have not otherwise become ineffec tive.


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                                  HITNESS the followtng slqnatures and seals :

                                                                      .                                             (sEAL)
                                                                          klohn       . K ug

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       l() ?,'05:'46-           .385 92      I:J Qr      /:2 J2          54d2:51'470''A
      /k @A*i74 '2O'             :!? ll      ,44 26      r4a l!          5 35*19'56**
      d2 D#*2J 'J* ''         î* 2 2*        t?6 6:      /2 6 64         529*55'59''+
           (76*44'47''        lPJ;*6.5       235 !7      ZJ5 OJ          629*46'J?''w
       ?4 04*2J'4Z*           2EJ( 69         l%9 5:     i99 52          5 J5*57#'O?''@e
      ?5 la''z?'J:.?-            28: 29        MZF58      t?l 99         SJre'56 'Oc''A
      !6 OJ*55 '$8 ''          l726 90       lt8 . 79    l!: l7          S 45*09'105.@
      I7 /8*.5.4'58e             6/1 l;      l98 25      '9 r 36         552*:: '58''w
      r# 26*14*06*              J2J .5(7     l48 04      !#6 :5          SF4*53 '29''W
      l9 t4*58 '.56.  '         825 6 l      2 l5 8l     Pl5 19          N 84':J(J'/0*#
      a0 29*58.26*              .493 l7      l99 97      t9 7 82         5 88*24'53*+
      2 l l/*54'04*             902 9*       l8 7.55     I8 7 22         S 79*47 '42e*'
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      22 02*48 *02*           332 764        t6 2 65     l62 64          S 87*08 '44*W
      ?J !4''39'58*'          ?209 29        J09 41      J08 59          SPp*/2'56''*
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                  THS: DEBD, made thia)Akb.day ok June: 1990, by and between
             J#X PHOPBRTIES, XUC.t a nelewàre corporatlon (*J#K Propertiesr
                                                                          ')
             and PATRICIA d. KLVG:, feme sole (*Kluge*)? whose address is
             Route 6/ Box 61, Charlotteeville, Virgtnt: 22901)
                                   K l T N E S S R ' H:
                  That, for and Sn eonaàderatàon of the premise:, and i;
             accordance wfth vïrqinïa code seotion 5B.l-806B, JWK properties
             doee hlreby GIVB, GRANT, CONVEY end QUITCLAIM? wtthout warranty,
             unto the said PATRICIA M. KLUGE, feme s6le, es her sole and
             aeparate equiteble eatate, free from thd control and marital
             righta of any preeent or futute hueband end free from any curtesy
             rights or inohoate curtesg rights of any prBaent or future
             husband, all of which are hereby expreààly excluded, and with the
             full and complete authbrity in her to alien, convey, enoumber,
             end otherwise deal with and dispoee of the eame without necessity
             of joinder by any present or future husband, all of its right.
             tïtlé and thterest Jn and to that certaàn tract or paxcèl of
             land, wtth thB imérovements thereon and eppurtënancda thureto
             belong:np, situated in the scottsvïlll Nagisterïal Distriot, in
             Albemarle county, vir:inia, oontaining 9.904 aores, mot. or loss,
             as sEown on eheet 2 of a plat of Glovckner & Qaborne, Ino.,
             compösed of two sNeets, deted April 18, 1990, attaohed hereto and
             tncorporated herein by reference (the 'plate); beïng a portion of
             the pr'opertr conveyed to 4:K Properties by 4eB4 of John :. xluge,




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             :t al., dated Decembér 1c, :484, of record in *he clerk'l ofkice




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                                          l)sll(15020l86
                    of the Circuit Court of Albemarle County in Deed Book 824, page            ,
                    63. to which reference is hereby made (the npropertgh).
                        The foregoing grant shall be together with the following
                    appurtenancesl
                             a non-exclusive easement acrosa the lands of 97::
                Propertiesy currently ghown aa Parcel 35A on Albemerle County Tax
                Map 102 (the eaurdened Landel/ for ingress and egreas to and from
                the Property to Stete Route 627, the location of the saïd
                easement befng shown on sheet 1 of the Plat. JWK Properttes? for
                itself and ïtB suocessors in title to the Burdened Land,
                COVENANTS and AGREES that it ahallp at its sole expense, maintaïn
                thB roadway located in the aaid easement in substanttally its
                present oondition, In addltion, for so long as JWE Propertles,                     1

                or its successors in title to the Burdened Land, éhall desire to                   :
                maintain e gate at the tnterseotion of thB saïd roadway with
                State Route 627, it COVENANQS and AGHBES to maintain the same at
                                                                                                   i
                ïts sole expense.                                                                  '
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                             non-exelusive easements for the continued use of the                  ;
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                exïsting well, septtc system, Ftormweter drainage system and                       l
                                                                                              ;?
                televislon antenna system loceted on the Burdened Land, including             tJ
                                                                                              1:
                reasonable acces: to and from the game, together with tbe right               'j
                to maintain, repair, or servioe the same. Maintenance of such                  ff
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                facilities. ahall be thB eole responsibility of Kluge and her                 t
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                succesaors in title .
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                        (3) a non-exclusive easement aorog: the burdened Land for
                the uBe of the exïstïng system for irrigatlon of the gardans on               i

                the Property, including reasonable access to and from the aamep               1
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                together with the right to mifntafn, repair. or aervlce the eaml.
                Maïntenance of suoh syetem shall be the eole responeàbilïty of
            Kluge and her Nuecessora in title. Suoh easement shall include
                thB ràght to take water from t:e pond on 'the Burdened Land to
            whteh thé eaàd system 1s now conneoted; prov:ded, however, thet
            ndthing herein shall be cunetrued lo requtre thq owner of the
            Burdened Land to augment or supplement thé natural recharge of
            th* said pond. Kàugo shall have the right to maïntafn such pond
            eubleot to the prlor approval of JWK Propertiee, which approval
            shall not be unreasonably wlthheld.
                    :he foregoing notwàthstanding, J:K Properttes reserves thB
            rïght to relocate, reoonfigure or otherwlee rearrenge the
            eapementa desorlbed above, at àt& lole expense, upon r/aaonable
            notàce to Kluge; provfded, however? that auch relocation:
            reoonfiguratfon or other zearrangement shall be performed without
            Bignifioant interruption of service to the Pro/erty to which Buoh
            easement ïs appurtenanl.
                    !n a further appurtenançe to the Propertyp JWK Prépertïea,
            for itsêlf end its succes/ors ïn titls to the Burdened Land,
            CQVRNAXTS anG AGREES that, for eo long as Kluge ahall remain thB
            owner of the Property; 4WK Properties anG ite euceessora in title
            ahall not build or Breot on the bi'l behànd the houss on the
            Property any etruoture whfoh would fnterfere #ith the privaoy or
            tbe reaeonable Bnjoyment of the Property.
                    Kluge hBfeby COVB#ANTS end AGREEB, tha: for Bo lonq as she
            is the ownet ot the Property, she will not accept ah offer for




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            the purohase of all Qr any portton of the property without flràt
    (P:ge 4 of 8)
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                    notifying the then current owner of the Burdened Land of such
                    offer.   ln such event, the then current owner of the gurdened
                    Land ehell bave the right to purchase saïd property at the same
                    prlce and upon the :ame terms end conditions as those offered by
                    such bona fide third party (lRtght of FirBt Refusal#). The then
                    current owner of the Burdened Land shall have fifteen (15)
                    businese days ih which to exercise this Right of First Refusal
                    after delivery to tt of wrïtten notice by Kluge of thG third
                    party's bona fide offer.       Notice shall be presumed to be
                    delivered three dayg after notice is mailed by certified mail,
                    postage prepaio, to tho maïling address for the then current
                    owner of the Burdened Land as shown ïn the records of the Real
                    Estate Tax Assessor for Albemarle County, Virginia, Thts Right
                    of Pirst Refusal shall not apply to (1) any conkeyance of the
                    Property as security for any tndebtedness of Kluge or (:i) deeds
                    of correctton, deeds to correct boundery lïne dlsputea and
                    Bimilar corrective lnstruments.       Thi/ Right of First Refusal
                    shall terminate for al1 time after compliance by Kluge with the                 .
                    provl/ions hereof and the failure by the then eurrent owner of
                    the Burdened Land to exeroïse this Rïght of First Refusal unless
                    tbe conveyance contemplated by the bona fide thiro party offer
                    does not occur, in whioh event this Right of First Refusa: shall
                    remain in full force and effect. Qpon termination of the Right
                    of Pirst Refusel, as aforesatd, the then current owner of the
l                   B
                     urdened Land shall Gxêcut? a rGlease of Baid Rtght of First
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i                   Refusal whïoh releaae uhall be in recordable form .

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                          Thtg conveyence is msde expresBly sublect to the easements?
                 conditions; restrtction: reservetions and other matter:a whether
                 or not contained in duly reccrded deeda, plats and other
                 instruments constitutïng conetructlve notice in the chain of
                 title to the Property hereby conveyed, lt beïng plainly
                 understood tbat this conveyance is without any warranty whatever.
                          This conveyance was authorized by unanimous consent of the
                 board of directors of JWK Propertiec,
                          :INNBSS the following signature and eeal:
                                             JWE PHOPE IES, INC.
                                                             #
                                             BY.       -    .w.
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                   #b d:y bf duno        , 1990, by Curry A. Roberta, maneging
                  ireotor' on behalf of J:: Fropertles, Inc.
                          Mr commlsaïon expiree)           ât                     '.

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